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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND
                                   *
MARYLAND, et al.,
                                           *
                     Plaintiffs,
                                           *
              v.
                                                Case No. 1:25-cv-00748-JKB
                                           *
UNITED STATES DEPARTMENT                   *
OF AGRICULTURE, et al.,
                     Defendants.

    *    *    *    *   *    *    *   *    *    *    *    *
     PLAINTIFFS’ MOTION TO SEAL EXHIBITS M-EE TO PLAINTIFFS’
           MOTION FOR TEMPORARY RESTRAINING ORDER

       Plaintiffs States hereby move under Local Rule 105.11 to seal Exhibits M-EE in

support of Plaintiffs’ Motion for a Temporary Restraining Order. As explained below this

Court should grant the motion because the exhibits—declarations from recently

terminated probationary federal employees—contain sensitive personal information that

the public has no interest in seeing. There is no viable alternative to sealing. So much of

the information in the declarations is sensitive that redaction would not provide the public

with appreciably more information about the scope and extent of probationary employee

terminations. Declarants also have reasonable concerns about reprisal if their declarations

are publicly available.
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                                  LEGAL STANDARD

       “The right of public access derives from two independent sources: the First

Amendment and the common law.” In re U.S. for an Ord. Pursuant to 18 U.S.C. Section

2703(D), 707 F.3d 283, 290 (4th Cir. 2013). The common law presumes a right of public

access to all judicial records and documents that can be rebutted by competing interests,

such as whether the records are sought for improper purposes, whether release would

enhance the public’s understanding of an important historical event, and whether the

public already has access to the information in the records. Id. (citing In re Knight Publ’g

Co., 743 F.2d 231, 235 (4th Cir. 1984)). The First Amendment right of access only

applies to certain judicial records such as complaints, summary judgment motions and

exhibits, rulings on summary judgment motions, and docket sheets. Courthouse News

Service v. Smith, 126 F.4th 899, 907 (4th Cir. 2025). The First Amendment permits

sealing these records when it is narrowly tailored to serve a compelling governmental

interest. Butler v. DirectSAT USA, LLC, 47 F. Supp. 3d 300, 316 (D. Md. 2014).

                                      ARGUMENT

       Exhibits M-EE are declarations from probationary federal employees whose

employment has been terminated since January 20, 2025. They should be sealed because

they contain sensitive personal information that the common law does not entitle the

public to see, and the First Amendment right of access does not apply.




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       Each declaration contains sensitive personal information. They include the

declarant’s annual salary and grade and step levels. They describe the declarant’s formal

performance evaluations and informal feedback on their job performance for employees

who were not employed long enough to receive a performance evaluation. They include

direct quotes from emails notifying them of the termination of their employment. They

also describe how declarants’ responses to sudden unemployment, including whether

they have applied for unemployment, Medicaid, or other public benefits for themselves or

their families, and how their daily lives and spending are affected.

       These declarations should be sealed in their entirety because the declarants have

strong reasons to keep their sensitive personal information out of public view. See Butler,

47 F. Supp. 3d at 316. Although the recent mass layoffs of federal employees are a matter

of public concern, specific and individualized information about the employees who have

been terminated will not advance the public’s understanding of this public issue. See In re

Knight Publ'g Co., 743 F.2d at 235 (favoring sealing if information will not advance

public understanding). The public does not already have personal information about

employee salaries, performance reviews, or their plans to apply for public benefits. Id.

(also favoring sealing if the information is not already public). And the declarants have

reasonable and specific concerns about reprisal if their declarations are available to the

public. Many have already applied for other jobs and others are seeking reinstatement

into their former positions with the federal government and they reasonably believe that




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public statements about the circumstances of their termination could jeopardize these job

prospects. Others fear that identifying the specific offices where they worked could

expose their former federal colleagues still employed in those offices to reprisal. And

there is no viable alternative to sealing these declarations in their entirety. See Local Rule

105.11. Redaction of their names is not sufficient, because the declarations also identify

their job titles, the specific geographic locations and offices where they worked, which is

sufficient information to uniquely identify them. The common law standard plainly

justifies sealing.

       The First Amendment only applies to certain types of judicial records, such as

complaints, summary judgment motions and exhibits, rulings on summary judgment, and

docket sheets. Courthouse News Service, 126 F.4th at 907. Here the Plaintiff States’

Complaint is already public. Plaintiff States are seeking emergency relief, not summary

judgment, so the employee declarations are not necessary to allow the public to

understand the basis of the Court’s ruling on the merits.

       For these reasons, the Plaintiff States respectfully move to seal Exhibits M-EE.



                                                  Respectfully submitted,




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* Pro hac vice application
forthcoming
**Application for admission
pending



March 7, 2025                            Attorneys for Plaintiffs




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                             CERTIFICATE OF SERVICE

       I certify that, on this 7th day of March, 2025, the foregoing was served by first-class

mail on all persons entitled to service:



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